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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

BAA OW Wels KEE
18 U.S.C. § 371
v. 18 U.S.C. § 1320a-7b(b)\(1)(B)
WILLIE MCNEAL IV

 

 

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The Grand Jury charges that: aa ‘1
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COUNT ONE Bro
(Conspiracy—18 U.S.C. § 371) 2e 0
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A. Introduction

At all times material to this Indictment:

The Medicare Program

1.

The Medicare program (“Medicare”) was a federal health care program

that provided medical benefits, items, and services (collectively “items and services’)
to beneficiaries:

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a.

 

age 65 or older,
b. under age 65 with “in disabilities, and
c. of all ages with end-stage renal disease (permanent kidney
failure requiring dialysis or a kidney transplant).
2.

The Centers for Medicare and Medicaid Services (“CMS”) was an

agency of the U.S. Department of Health and Human Services (“DHHS”), and was

the federal governmental body responsible for the administration of Medicare.
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3. Medicare included coverage under component parts. Medicare Part A
was a hospital insurance program that covered beneficiaries for, among other types of
care, inpatient care in hospitals and other facilities. Medicare Part B was a
supplemental medical insurance program that covered doctors' services, outpatient
care, and some other medical items and services not covered under Part A.

Durable Medical Equipment

4. Durable medical equipment (“DME”) was reusable medical equipment
such as orthotic devices, walkers, canes, or hospital beds. Orthotic devices were a type
of DME that included knee braces, back braces, shoulder braces, and wrist braces
(collectively, “braces”’).

3. DME companies, physicians, and other health care providers that
furnished items and services to Medicare beneficiaries were referred to as Medicare
providers. To participate in Medicare, providers were required to submit an
application in which the providers agreed to comply with all Medicare-related laws,
rules, and regulations. If Medicare approved a provider’s application, Medicare
assigned the provider a Medicare “provider number.” A health care provider with a
Medicare provider number could file claims with Medicare to obtain reimbursement
for medically necessary items and services rendered to beneficiaries. Medicare
providers were given access to Medicare manuals and service bulletins describing

billing procedures, rules, and regulations.
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6. Medicare reimbursed DME providers and other health care providers for
medically necessary items and services rendered to beneficiaries. To receive payment
from Medicare, providers submitted or caused the submission of claims to Medicare,
either directly or through a billing company.

7. A Medicare claim for DME reimbursement was required to set forth,
among other information, the individual Medicare beneficiary’s name and unique
Medicare identification number, the equipment provided to the beneficiary, the date
the equipment was provided, the cost of the equipment, and the name and unique
physician identification number of the physician who prescribed or ordered the
equipment.

8. Medicare would pay a claim for the provision of DME only if the
equipment was medically necessary and reasonable, ordered by a licensed provider,
and actually provided to the beneficiary. Medicare claims were required to be
properly documented in accordance with Medicare rules and regulations. Medicare
would not reimburse providers for claims that were procured through the payment of
kickbacks and bribes.

Telemedicine

9. Telemedicine was a means of connecting patients to health care
providers by using telecommunication technology, such as the internet or the

telephone.
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10. Telemedicine companies hired physicians and other health care
providers to furnish telemedicine services to individuals. Telemedicine companies
typically paid health care providers a fee to conduct consultations with patients. In
order to generate revenue, telemedicine companies typically either billed the
Medicare program or other health insurance program, or offered a membership
program to patients.

11. Some telemedicine companies offered membership programs to patients
who signed a contract for telemedicine services, paid a set dollar amount per month,
and paid a fee each time the patient had a telemedicine encounter with one of its
providers.

12. Medicare Part B covered expenses for specified telehealth services if
certain requirements were met. These requirements included, among others: (a) that
the beneficiary was located in a rural area (outside a Metropolitan Statistical Area or
in a rural health professional shortage area); (b) that the services were delivered via an
interactive audio and video telecommunications system; and (c) that the beneficiary
was at a practitioner’s office or a specified medical facility—not at a beneficiary’s
home-—during the telehealth service furnished by a remote practitioner.

Individuals and Related Entities

13. Willie McNeal IV was a resident of Pasco County in the Middle District

of Florida and was the owner, president, founder, chief executive officer, and
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registered agent of WebDoctors Plus, Inc. (“WebDoctors”) and Integrated Support
Plus, Inc. (“Integrated”) (collectively, the “Integrated Support Network”).

14. WebDoctors was a purported telemedicine company located in
Hernando County in the Middle District of Florida. |

15. Integrated was a purported telemedicine company located in Hernando
County in the Middle District of Florida.

16. “Employee 1,” a person known to the grand jury, was a resident of
Hernando County in the Middle District of Florida and an employee of WebDoctors
and Integrated. Employee 1 provided administrative support for the Integrated
. Support Network.

17. “Doctor 1,” a person known to the grand jury, was a resident of Toms
River, New Jersey who worked as an independent contractor for Integrated.

B. The Agreement
18. From in or around June 2017, through and including the date of this
Indictment, in the Middle District of Florida, and elsewhere, the defendant,
WILLIE MCNEAL IV,
did knowingly and willfully combine, conspire, confederate, and agree together and
with other persons known and unknown to the grand jury, including Employee 1 and
Doctor 1, to:
a. defraud the United States out of money and property and by

impeding, impairing, obstructing, and defeating the lawful
functions of the DHHS, through its agency the CMS in the
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administration of Medicare Part B, by deceit, craft, and
trickery; and

b. commit the following offenses against the United States:

1. soliciting and receiving remuneration, in violation
of 42 U.S.C. § 1320a-7b(b)(1); and

il. offering and paying remuneration, in violation of 42
U.S.C. § 1320a-7b(b)(2).

C. Manner and Means
19. The manner and means by which the defendant and his coconspirators
sought to accomplish the objects of the conspiracy included, among others, the
following:

a. It was part of the conspiracy that Willie McNeal IV would and
did create and control the Integrated Support Network.

b. It was further part of the conspiracy that Willie McNeal IV,
through the Integrated Support Network, would and did recruit and hire health care
providers, including Doctor 1, to order, or prescribe, braces for Medicare
beneficiaries.

c.. It was further part of the conspiracy that Willie McNeal IV and
others in the Integrated Support Network, including Employee 1, would and did
solicit and receive payments in the form of illegal kickbacks and bribes in exchange
for ordering, arranging for, and recommending the ordering of braces for Medicare

beneficiaries.
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d. It was further part of the conspiracy that Willie McNeal IV and
others in the Integrated Support Network would and did receive Medicare beneficiary
information that was transmitted from telemarketers, recruiters, and others in order
for the Integrated Support Network medical providers, including Doctor 1, to sign
DME orders.

e. It was further part of the conspiracy that Willie McNeal IV,
through the Integrated Support Network, would and did pay health care providers,
including Doctor 1, for ordering, or prescribing, braces for Medicare beneficiaries,
often without any physical examinations or direct communication with the
beneficiaries and regardless of medical necessity.

f. It was further part of the conspiracy that Willie McNeal IV and
others would and did refrain from charging a fee to Medicare beneficiaries or billing
Medicare for telemedicine consultations conducted by the Integrated Support
Network health care providers.

g. It was further part of the conspiracy that Willie McNeal IV or
others at the Integrated Support Network would and did transfer orders, or
prescriptions, for braces for Medicare beneficiaries to telemarketers, recruiters, and
others in exchange for payments in the form of kickbacks and bribes, understanding
that the orders would be used to support false and fraudulent Medicare claims.

h. It was further part of the conspiracy that Willie McNeal IV and

others would and did disguise and conceal the nature and source of the kickbacks and
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bribes by, among other conduct, entering into sham contracts, identifying the
payments as “marketing” or “business process outsourcing” expenditures, and
creating and maintaining fraudulent invoices.

1. It was further part of the conspiracy that Willie McNeal IV and
others, through the Integrated Support Network, would and did facilitate the
submission of false and fraudulent claims to Medicare totaling approximately $246
million for braces that were ineligible for Medicare reimbursement because they were
procured through the payment of illegal kickbacks and bribes, medically unnecessary,
and/or not provided as represented.

j. It was further part of the conspiracy that conspirators would and
did participate in meetings, perform various acts, and make statements to accomplish
the objects of the conspiracy and to conceal the conspiracy.

D. Overt Acts
20. The conspirators committed various overt acts in furtherance of the
conspiracy, and to effect the objects thereof, in the Middle District of Florida and
elsewhere. For example, on or about the dates set forth below, each of which

constitutes a separate overt act, Willie McNeal IV caused the transmission of a false
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and fraudulent invoice to a telemarketing company in order to obtain payments in the

form of illegal kickbacks or bribes:

 

 

 

 

 

Overt Act Approximate Date eeprommate t
a. July 5, 2017 $7,500
b. September 6, 2018 $220,000
C. March 18, 2019 $78,000
d. March 18, 2019 $308,000

 

 

 

 

 

All in violation of 18 U.S.C. § 371.

COUNTS TWO THROUGH FIVE
(Soliciting and Receiving of Health Care Kickbacks—42 U.S.C. 1320a-7b(b)(1)(B))

1. The Grand Jury hereby realleges Paragraphs 1 through 17 and 19 of
Count One of this Indictment and incorporates such paragraphs as though fully set
forth herein.

2. On or about the dates set forth below, in the Middle District of Florida,
and elsewhere, the defendant,

WILLIE MCNEAL IV,
did knowingly and willfully solicit and receive remuneration (including kickbacks and
bribes) directly and indirectly, overtly and covertly, in cash and in kind, in return for
ordering, and arranging for and recommending ordering any service and item for

which payment may be made in whole and in part under a Federal health care
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program, to wit: kickbacks and bribes solicited and received in the approximate
amounts listed below in exchange for furnishing signed DME brace orders to be used

as support for Medicare claims:

 

 

 

 

 

Count Approximate Date }| Approximate Amount
TWO July 6, 2017 $7,500
THREE September 6, 2018 $220,000
FOUR March 18, 2019 $78,000

FIVE March 18, 2019 $308,000

 

 

 

 

 

All in violation of 42 U.S.C. § 1320a-7b(b)(1)(B) and 18 U.S.C. § 2.

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FORFEITURE

1. The allegations contained in Counts One through Five are re-alleged and
incorporated by reference for the purpose of alleging forfeiture pursuant to 18 U.S.C.
§ 982(a)(7).

2. Upon conviction of a federal health care offense, including a violation of
42 U.S.C. § 1320a-7b(b), or conspiracy to commit such an offense, as alleged in
Counts One through Five, the defendant,

WILLIE MCNEAL IV,

shall forfeit to the United States of America, pursuant to 18 U.S.C. § 982(a)(7), any
property, real or personal, that constitutes or is derived, directly or indirectly, from
gross proceeds traceable to the commission of such violation.

3. The property to be forfeited includes, but is not limited to, the following:

a. An order of forfeiture in the amount of the proceeds obtained from
the kickback offenses;

b. The real property located at 18116 Winding Oaks Blvd, Hudson, FL
34667;

c. The real property located at 18130 Winding Oaks Blvd, Hudson, FL
34667; |

d. The real property located at 18140 Winding Oaks Blvd, Hudson, FL
34667;

e. The real property located at 5262 Applegate Drive, Unit 101, Spring
Hill, FL 34608;

f. The real property located at 5258 Applegate Drive, Unit 102, Spring
Hill, FL 34608;

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g. The real property located at 18029 Oggie Lane, Hudson, FL 34667;
h. The real property located at 17910 Oggie Lane, Hudson, FL 34667;
i. The real property located at 17924 Oggie Lane, Hudson, FL 34667;

j. The real property located at 17942 Oggie Lane, Hudson, FL 34667;
and

k. The real property located at 18002 Oggie Lane, Hudson, FL 34667.

4, If any of the property described above, as a result of any act or omission
of the defendant:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been co-mingled with other property which cannot be divided
without difficulty,

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the United States of America shall be entitled to forfeiture of substitute property
pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title 18,

United States Code, Section 982(b)(1).

 

A TRUE BILL,
FOREPERSON
MARIA CHAPA LOPEZ
United States Attorney

JOSEPH S. BEEMSTERBOER
Deputy Chief
i ates Department of Justice

 

 

By:

 

  

atherine Wagner

Trial Attorney

United States Department of Justice
Criminal Division, Fraud Section

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FORM OBD-34

April 19 No.

 

UNITED STATES DISTRICT COURT
Middle District of Florida
Tampa Division

 

THE UNITED STATES OF AMERICA

vs.

WILLIE MCNEAL IV

 

INDICTMENT

Violations: 18 U.S.C. § 371
18 U.S.C. § 1320A-7b(b)(1)(B)

A true AN

Foreperson

 

 

Filed in open court this third day of April 2019

 

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